                Case 3:97-cr-00082-CCC                     Document 3489                  Filed 07/10/09            Page 1 of 2
OAO 245D     (Rev. 12/03) Amended Judgment in a Criminal Case for Revocations                    NOTE: Identify changes with Asterisk (*)
             Sheet 1



                                   UNITED STATES DISTRICT COURT
                     FOR THE                                     District of                               PUERTO RICO
        UNITED STATES OF AMERICA                                          AMENDED JUDGMENT IN A CRIMINAL CASE
                   V.                                                     (For Revocation of Probation or Supervised Release)


                                                                          Case Number:                      97-CR-082 (44) (SEC)
      HAROLD RIVERA-RODRIGUEZ
                                                                          USM Number:                       15595-069
                                                                          AFPD, HECTOR RAMOS-VEGA
                                                                          Defendant’s Attorney
THE DEFENDANT:

     admitted guilt to violation of
X                                                     Special Condition & Mandatory                        of the term of supervision.
     condition(s)

G    was found in violation of                                                           after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number                                          Nature of Violation                                               Violation Ended
                               Failure to reside for a period of 60 days at the Drug Rehabilitation
Special Condition              Program, Santisima Trinidad.                                                                   Since 12/24/06
Mandatory Condition            He committed another federal crime.                                                               06/02/07




       The defendant is sentenced as provided in pages 2 through                  2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G    The defendant has not violated condition(s)                                      and is discharged as to such violation(s) condition.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

                                                                          June 11, 2009
                                                                          Date of Imposition of Judgment



                                                                          S/    Salvador E. Casellas
                                                                          Signature of Judge

                                                                          Salvador E. Casellas, U.S. District Judge
                                                                          Name and Title of Judge


                                                                          July 10, 2009


                                                                          Date
                    Case 3:97-cr-00082-CCC                     Document 3489           Filed 07/10/09            Page 2 of 2
AO 245D       (Rev. 12/03 Judgment in a Criminal Case for Revocations                              NOTE: Identify changes with Asterisk (*)
              Sheet 2— Imprisonment



                                                                                                      Judgment — Page       2        of       2
DEFENDANT:                     HAROLD RIVERA-RODRIGUEZ
CASE NUMBER:                   97-CR-082 (44)(SEC)


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :
    THIRTY-TWO (32) MONTHS and (*) REDUCED BY FIVE (5) DAYS to be served
CONSECUTIVE to the sentence imposed in 07-CR-265(01(JAG). No supervision to follow in this case 97-CR-82
                                              (SEC)


    G The court makes the following recommendations to the Bureau of Prisons:



    X The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G    at                                   G a.m.         G p.m.       on                                              .

          G    as notified by the United States Marshal.

    G     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G    before 2 p.m. on                                             .

          G    as notified by the United States Marshal.

          G    as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                                DEPUTY UNITED STATES MARSHAL
